Case: 1:05-cr-00044-SO Doc #: 292 Filed: 12/06/05 1 of 1. PageID #: 812




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                      )      Case No.: 1:05 CR 44-16
                                               )
       Plaintiff                               )      JUDGE SOLOMON OLIVER, JR.
                                               )
       v.                                      )
                                               )
KEVIN TRAYLOR,                                 )
                                               )
       Defendant                               )      ORDER



       Currently pending before the court is Defendant Kevin Traylor’s Motion to Have the

Government Make a Pretrial Showing that he Participated in the Alleged Conspiracy After His

Eighteenth Birthday (ECF No. 233). For the reasons stated below, the Motion is denied.

       United States v. Maddox, 994 F.2d 1223 (6th Cir. 1991) does not require such a pretrial

showing. The required threshold showing by the Government that a defendant who joined a

conspiracy before his 18th birthday ratified his membership in the conspiracy after his 18th birthday

can be based on a showing made at trial. United States v. Gjonaj, 861 F.2d 143, 144 (6th Cir.

1988). The court finds the holding and the reasoning of United States v. Welch, 15 F.3d 1202, 1209

(1st Cir. 1993) to be especially persuasive.

       Therefore, Defendant Kevin Traylor’s Motion (ECF No. 233) is denied.

       IT IS SO ORDERED.



                                                      /S/ SOLOMON OLIVER, JR.
                                                      UNITED STATES DISTRICT JUDGE

December 6, 2005
